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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                                                     CASE NO: 09CR673

                    Plaintiff,

vs

RON COLLINS,

          Defendant.
_________________________________/


     MOTION TO COMPEL DISCLOSURE OF EXISTENCE
  AND SUBSTANCE OF PROMISES OF IMMUNITY, LENIENCY
 OR PREFERENTIAL TREATMENT AND MEMORANDUM OF LAW
          AS WELL AS EXCULPATORY EVIDENCE


                    COMES NOW the Defendant by and through the undersigned
counsel and moves this Honorable Court for an order requiring the govern-
ment to disclose to the defendant any and all of the following:


                    The existence and substance of any promises, agreements,
understandings or arrangements, either verbal or written, between the
government, state or federal, its agents, and any prosecution witness or
informant            or      cooperating            defendant           or      his     or      her      attorneys             or
representatives, wherein the government has agreed:
                                                            Page 1

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               i.        Not to prosecute the witness(es) for any crime or crimes;
               ii.       Not to prosecute a third party for any crime or crimes;
               iii.      To provide a formal grant of statutory immunity or an
                         informal grant of immunity in connection with any
                         testimony given by him or her;
               iv.       To recommend leniency for any crime or crimes for which
                         he or she is convicted;
               v.        To recommend a particular sentence for any crime or
                         crimes for which he or she is convicted;
               vi.       To dismiss any counts of an indictment pending against a
                         government witness;
               vii.      To provide favorable treatment or consideration, that is
                         money or the like, to the witness himself or to friends or
                         relatives for the witness' cooperation and testimony.
               viii. To compromise or diminish, or to recommend to
                         compromise or diminution of any federal, state or local
                         taxes which he or she is claimed to owe;
               ix.       To make any other recommendations of benefit or to give
                         any other consideration to him or her; and
               x.        To cause the removal or destruction of the criminal record
                         of such witness;
               xi.       To cause the change of identity of such witness;
               xii.      To keep confidential from any local, state or federal
                         agency statements of facts derivatively discovered through
                         the witness' statements;
                                                       Page 2

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                 xiii. Any commitments or promises of assistance received from
                           any       United         States        Congressional               Committee,             sub-
                           committee member, aide or investigator;
                 xiv.      To agree to refrain from pursuing forfeiture proceedings
                           under the RICO Act or Continuing Criminal Enterprise
                           Act.


                 The Defendant further requests:


                 1.        The full record of arrests and criminal conviction of any
prospective witness the Government intends to call at the trial of the above-
captioned matter.


                 2.        The full and complete statement of all promises, rewards,
inducements of any kind made by the Government, its' prosecutors, its'
agencies, or its' agents, or by any State, acting as a result of an explicit or
implicit request by the Government to induce or encourage the giving of
testimony or information made to (a) any prospective witness who the
Government intends to call at the trial of the above-captioned matter, (b)
any witness who testified to the Grand Jury, (c) or any witness who assisted
the Government in its investigation and preparation of the above-captioned
matter.


                 3.        Any evidence which may be used to impeach or discredit
any witness the Government intends to call at the trial of the above-
                                                         Page 3

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captioned matter; particularly, but not exclusively, inconsistent statements
of a witness or between witnesses; statements of bias or prejudice against
any of the Defendants by a witness or admission of poor memory by a
witness.


                 4.        A full and complete statement of any and all criminal
cases presently known by the Government to be pending against any
witness the Government intends to call in its presentation of its case-in-
chief at trial of the above-captioned matter, regardless of whether or not
these cases are the subject of a promise, reward or inducement.


                 5.        A full and complete statement of any and all criminal
conduct which the Government has knowledge, has been committed by any
witness the Government intends to call in its' case-in-chief regarding which
there has been no conviction, regardless of whether or not these crimes are
presently the subject of a promise, reward or inducement and regardless of
whether or not these crimes are presently the subject of a pending criminal
charge.


                 6.        The name and address of every person who has displayed
photographs of the corporeal person of any of the Defendants in an attempt
to obtain identification testimony, and who failed to positively identify any
of the Defendants.




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                 7.        Any and all reports, memoranda or statements which
contain interviews with or descriptions by the witnesses enumerated in
paragraph 6, relevant to their recollection of the event about which the
Government was attempting to elicit photographs or corporeal identifica-
tion of any of the Defendants.


                 In support of this motion, substantively, the Defendants relies
generally on the need to make specific request for exculpatory evidence, see,
United States v. Agurs, 96 Sp.Ct. 2392 and on Brady v. Maryland, 373
U.S. 83 and specifically on Giglio v. United States, 405 U.S. 150
(paragraphs 2, 3, 4 and 5), on United States v. Quinn, 364 F.Supp. 432
(N.D. Ga. 1973), United States v. Morceri, 359 F.Supp. 431 (N.D. Ohio
1973), United States v. Gibson, (D.C. Superior Court, 1972) 12 Cr.L.
2096, Hill v. Superior Court, 10 Cal., 3d 812 (1974), United States v.
Curry, 278 F.Supp. 456 (N.D. Ill. 1967), (all paragraph 1) on the United
States v. Fried, 486 F.2d 201 (2nd Cir. 1973) (paragraph 4), on Moynahan
v. Manson, 419 F.Supp. 1139 (D. Conn. 1976) (paragraph 5) and on
United States v. McMillian, 535 F.2d 1035 (8th Cir. 1976) and Barbee v.
Warden, 331 F.2d 842 (4th Cir. 1964) (paragraphs 6 and 7).                                                             All
disclosures must be made prior to trial.                                United States v. Mitchell, 372
F.Supp. 1289 (S.D.N.Y. 1967), United States v. Germain, 411 F.Supp.
719 (S.D. Ohio, 1976), United States v. Ladd, 48 F.R.D. 266 (D. Alaska
1969). United States v. Polisi, 416 F.2d 573 (2d Cir. 1968), Ashley v.
Texas, 319 F.2d 80 (5th Cir. 1963), United States v. Bryant, 439 F.2d 642
(D.C. Cir. 1971).
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                 Courts have consistently held that in attempting to establish
motives or bias of government witnesses, a defendant may elicit evidence
showing that the government has made explicit or implied promises of
immunity from prosecution, lenience in sentencing, or other preferential
treatment in return for the witness' or informant's cooperation and
agreement to testify for the prosecution.


                 In McKinzy v. Wainwright, 719 F.2d 1525 (11th Cir. 1983) the
court held. . .


                 A defendant's sixth amendment right to confront
                 witnesses applies in state as well as federal trials.
                 Pointer v. Texas, 380 U.S. 400, 85 S.Ct. 1065, 13
                 L.Ed.2d 923 (1965).       This right includes the
                 opportunity for effective cross examination and is
                 one of the minimum essentials for a fair trial.
                 Chambers v. Mississippi, 410 U.S. 284, 93 S.Ct.
                 1038, 35 L.Ed.2d 297 (1972), citing In re Oliver,
                 333 U.S. 257, 68 S.Ct. 499, 92 L.Ed. 682 (1948).

                 The Supreme Court explained in Davis that: "the
                 exposure of a witness' motivation in testifying is a
                 proper     and    important    function    of    the
                 constitutionally    protected   right   of    cross-
                 examination." 415 U.S. at 317, 94 S.Ct. at 1110
                 (citations omitted).      When a witness is in
                 government custody it is proper to ask if his
                 testimony is given under the promise or expectation
                 of favorable treatment in his own criminal matters.
                 Alford v. United States, 282 U.S. 687, 51 S.Ct.
                 218, 75 L.Ed. 624 (1931).


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                "[C]ross-examination of a witness in matters
                pertinent to his credibility ought to be given the
                largest possible scope." United States v. Mayer, 556
                F.2d 245. 248 (5th Cir. 1977) quoting United States
                v. Partin, 493 F.2d 750, 763 (5th Cir. 1974), cert.
                denied, 434 U.S. 903, 98 S.Ct. 298, 54 L.Ed.2d
                189 (1977) quoting McConnell v. United States, 393
                F.2d 404, 406 (5th Cir. 1968). It is error to
                prevent cross examination of the witness' possible
                motives to shade his testimony to please state
                authorities who may have control over the witness'
                own criminal disposition. Greene v. Wainwright,
                634 F.2d 272 (5th Cir. 1981); United States v.
                Mayer, 556 F.2d 245 (5th Cir. 1977); United States
                v. Brown, 546 F.2d 166 (5th Cir. 1977).

                The Fifth Circuit has repeatedly recognized the
                particular need for full cross examination of the
                state's star witness. United States v. Barrentine, 591
                F.2d 1069, 1081 (5th Cir.), cert. denied, 444 U.S.
                990, 100 S.Ct. 521, 62 L.Ed.2d 419 (1979);
                Beaudine v. United States, 368 F.2d 417, 424 (5th
                Cir. 1966); Grant v. United States, 368 F.2d 658,
                661 (5th Cir. 1966). These Fifth Circuit cases
                decided before October 1, 1982, are binding
                precedent on this panel. Bonner v. City of Prichard,
                661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).
                In this case, the juvenile was the only eye witness to
                the actual stabbing. Her testimony was important
                to dispelling the claim of self-defense. Thus the
                opportunity for effective cross examination about
                possible bias was important.


                United States v. Partin, 493 F.2d 750, 757-760 (5th Cir.
1974); United States v. Campbell, 426 F.2d 547, 549 (2d Cir. 1970);

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Hughes v. United States, 427 F.2d 66, 68 (9th Cir. 1970) are all historical
cases standing for this principle. Where trial courts have sought to limit the
scope of cross-examination and the presentation of evidence on such
matters, reviewing the courts have tended to view such limitations as
reversible error.


                 United States v. Anderson, 881 F.2d 1128 (D.C. Cir. 1989)
advises that where District Court is aware of recently dismissed indictment
against prosecuting witness, cross examination must be permitted to raise
possibility that prosecution's ability to reinstate indictment gave witness
motive for favoring prosecution. See United States v. Masino, 275 F.2d
129 (2nd Cir. 1960), United States v. Maynard, 476 F.2d 1170 (D.C. Cir.
1973), United States v. Leonard, 494 F.2d 955 (D.C. Cir. 1974) and
others.


                 The court in Anderson stated:


                 "Moreover, this circuit has ruled that [t]he
                 permissible scope of exploration on cross-
                 examination is not curtailed by the absence of
                 promises for leniency, for the defense may attempt
                 to show government 'conduct which might have led
                 a witness to believe that his prospects for lenient
                 treatment by the government depended on the
                 degree of his cooperation.'"


                 Anderson's conviction was reversed by the Court of Appeal.


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                 The Supreme Court has adopted a position requiring expanded
disclosure of promises of immunity, leniency and preferential treatment to
government witnesses; and has imposed upon the government the burden of
insuring that disclosure of such promises is made to defendant. In Giglio v.
United States, 405 U.S. 150 (1972), the defendant was convicted of
passing forged money orders and was sentenced to five (5) years
imprisonment.                Subsequent to the conviction, defendant's attorney
discovered new evidence indicating that the government had failed to
disclose a promise made to its key witness that he would not be prosecuted
if he testified for the government. In reversing the conviction under the
due process criteria of Brady v. Maryland, 373 U.S. 83 (1963), the court in
Giglio stated:


                 . . . (the witness') credibility was therefore an
                 important issue in the case, and evidence of any
                 understanding or agreement as to future prosecution
                 would be relevant to his credibility and the jury was
                 entitled to know it. (Emphasis added).


                 The defendant submits that the holding in Giglio requires the
type of disclosure that he now seeks. While it is true that Giglio does not
appear to establish a particular time for disclosure of promises of immunity,
leniency or preferential treatment, or the implementation thereof,
defendant's request for such disclosure no later than ten (10) days
subsequent to the ruling hereon must be considered both reasonable and
appropriate.          The manner of execution and fulfillment of any various
commitment and promises made to these government witnesses may not
                                                         Page 9

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have been communicated directly to them. Rather, this information may
have been communicated only to their attorneys or representatives. If this
is so, the defendant will not be able to elicit the information during cross-
examination of these individuals, and he should therefore be given a
reasonable opportunity prior to trial to locate and interview the persons who
possess this information.


                 If the substance of such promises and agreements have not been
accurately and fully communicated to the witness(es), cross-examination
will not be an adequate device by which the defendant can elicit information
to which he is clearly entitled.                          Again, such information can only be
obtained if the defendant is given some factual basis on which to seek its
procurement and a reasonable time prior to trial in which to do so.


                 WHEREFORE, for the above and foregoing reasons, the
defendant submits that this Honorable Court should grant the instant
motion.
                                                                   Respectfully submitted,
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                                   CERTIFICATE OF SERVICE


                 I HEREBY CERTIFY that a true and correct copy of the
foregoing Motion to Compel Disclosure of Existence and Substance of
Promises         of      Immunity,            Leniency           or      Preferential            Treatment            and
Memorandum of Law as well as Exculpatory Evidence was filed via
electronic filing using the CM/ECF system with the Clerk of the Court
which sent e-mail notification of such filing to all CM/ECF participants in
this case this 3rd day of June, 2010.


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